

People v Boynton (2023 NY Slip Op 03415)





People v Boynton


2023 NY Slip Op 03415


Decided on June 22, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 22, 2023

Before: Kern, J.P., Friedman, Mendez, Rodriguez, JJ. 


Ind No. 109/18 Appeal No. 527 Case No. 2018-4738 

[*1]The People of the State of New York, Respondent,
vJermaine Boynton, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Robin Richardson of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Peter Rienzi of counsel), for respondent.



Judgment, Supreme Court, New York County (Mark Dwyer, J.), rendered June 29, 2018, convicting defendant, upon his plea of guilty, of criminal possession of a weapon in the third degree, and sentencing him to three years' probation, unanimously affirmed.
Given the absence of warnings under Boykin v Alabama (395 US 238 [1969]) or any other basis for finding voluntariness, defendant would be entitled to have his plea vacated. However, he does not request that relief, but instead seeks dismissal of the indictment or reduction of the conviction to a misdemeanor, and he expressly asks this
Court to affirm the judgment if it does not grant one of those remedies. Because, under all the circumstances, we do not find either remedy to be appropriate, we affirm (see e.g. People v Teron, 139 AD3d 450 [1st Dept 2016]).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 22, 2023








